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                    UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NEW HAMPSHIRE



United States of America

     v.                                      Case No. 05-cr-215-PB

Christopher Stallings



                               O R D E R


     The defendant has moved to continue the September 6, 2006

trial in the above case citing the need for additional time to

address charges in a superseding indictment returned on August

30, 2006.   Co-defendant Larry Stallings objects to a continuance

of the trial date, however the government does not object.

     For the above reason and to allow the parties additional

time to properly prepare for trial, the court will continue the

trial date from September 6, 2006 to November 7, 2006.            In

agreeing to continue the trial, the court finds pursuant to 18

U.S.C.A. § 3161(h)(8)(A) that for the above-stated reasons, the

ends of justice served in granting a continuance outweigh the

best interests of the public and the defendants in a speedy

trial.
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      The court will hold a final pretrial conference on October

25, 2006 at 3:45 p.m.

      SO ORDERED.

                                         /s/Paul Barbadoro
                                         Paul Barbadoro
                                         United States District Judge

September 5, 2006

cc:   Bjorn Lange, Esq.
      Paul Pappas, Esq.
      Donald Feith, AUSA
      United States Probation
      United States Marshal




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